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  EXHIBIT 11
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  __________________________________

                         Kevin McKenna
                         December 1, 2022
  __________________________________

                          Progeny, et al.
                                   vs.

                   City of Wichita, Kansas
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1              IN THE UNITED STATES DISTRICT COURT

2                     FOR THE DISTRICT OF KANSAS

3

4      PROGENY, a program of Destination )

5      Innovations, Inc., CHRISTOPHER            )

6      COOPER, ELBERT COSTELLO, MARTEL           )

7      COSTELLO, and JEREMY LEVY,JR., on )

8      behalf of themselves and others           )Case No.

9      similarly situated,                       )6:21-CV-01100-

10     Plaintiffs,                               )EFM-ADM

11     vs                                        )

12     CITY OF WICHITA, KANSAS,                  )

13     Defendant.                                )

14     __________________________________)

15                      VIDEOTAPED DEPOSITION OF

16                             KEVIN MCKENNA

17                            December 1, 2022

18                               8:31 a.m.

19

20                               Taken at:

21                     Joseph, Hollander & Craft

22                       500 North Market

23                        Wichita, Kansas

24

25     Kathy R. Bonfiglio, CSR-KS, CSR-MO, RPR



                                                                                     1
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1               A.   Yes, sir.

2               Q.   Including gang intelligence officers

3      and patrol officers in other divisions?

4               A.   Yes, sir.

5               Q.   They all receive the same training with

6      respect to TOPS cards?

7               A.   It's given in the Academy, yes, sir.

8               Q.   Did you receive that training when you

9      went through Academy?

10              A.   Yes, sir.

11              Q.   Is there training on TOPS cards other

12     than in the Academy?

13              A.   Not that I know of, no.

14              Q.   Let me ask maybe a better question.          Is

15     there ever in-service training on filling out TOPS

16     cards?

17              A.   No.

18              Q.   Okay.    All right.   You said the TOPS

19     card could be a New TOPS card, an Updated TOPS card

20     or Associate TOPS card; is that right?

21              A.   Correct.

22              Q.   Under what circumstance would an

23     officer fill out a New TOPS card?

24              A.   An officer -- they are not required to

25     fill out a TOPS card, okay, but an officer may fill



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1      out a TOPS card in reference to a vehicle stop that

2      he had where an individual admitted to him that he

3      was a Sur 13 gang member.      So that officer would

4      fill out the card and it's about the size -- we

5      have changed it now.     It's an electronic.       Back

6      when I was on the street it was like about the size

7      of a baseball card.     You would fill it out and he

8      would just say all the guy's information; address,

9      everything, and contact with him on this case and

10     he stated that he admitted to being a Sur 13 gang

11     member and they may put a case number on there to

12     say see this case number.

13             Q.   Are case numbers assigned even for

14     traffic stops?

15             A.   Not every traffic stop, no.

16             Q.   Okay.     So if it was a traffic stop and

17     there wasn't a case number assigned, what reference

18     might -- would that just be blank?

19             A.   No.    He could put a citation number

20     down.   Yeah.

21             Q.   Okay.     If a citation was issued?

22             A.   Yes, sir.

23             Q.   Am I right that an officer could fill

24     out a TOPS card whether or not any ultimate

25     citation was issued?



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1              A.    Correct.

2              Q.    Okay, and in that case what would he

3      write down?

4              A.    He could say that he had contact with

5      him on this date at this time and this is what he

6      stated on a traffic stop and most of the time you

7      would see where they would put who they were in the

8      car with or something like that.

9              Q.    Okay.    If an officer filled out a TOPS

10     card after having interaction with an individual

11     who was a witness of an incident that they weren't

12     accused of or a person of interest or suspect in,

13     would they put down a case number or reference

14     number for whatever incident they were connected

15     with even if they weren't like a suspect in that?

16             A.    Yes, sir.

17             Q.    Okay.    This may seem like an unlikely

18     hypothetical, but if an individual were to walk up

19     to a police officer and self identify as a gang

20     member without any other context for the

21     interaction, could the officer fill out a TOPS

22     card?

23             A.    Yes, sir.

24             Q.    How would they catalog that or what

25     reference would they put down for that?



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1              A.   On the back of the TOPS card they would

2      just say that on this date at this time they were

3      contacted by this person who stated this.

4              Q.   Okay.

5              A.   There's no requirement to make a case

6      number.

7              Q.   Okay.     If an officer observed an

8      individual in the public and didn't directly

9      interact with them but observed them, for example,

10     using a gang hand sign, could the officer fill out

11     a TOPS card?

12             A.   Does he meet state criteria to be

13     documented as a gang member?

14             Q.   So let me ask you this.       Does an

15     officer only fill out a TOPS card if the individual

16     they are describing meets the state criteria to be

17     documented as a gang member?

18             A.   Not all the time.     We would get TOPS

19     cards that they don't meet the criteria and so they

20     don't get flagged.     An individual that just throws

21     up a gang hand sign standing by himself and nothing

22     else to support it, no, he doesn't meet the

23     criteria.

24             Q.   Okay. An officer could fill out a TOPS

25     card for such an individual; correct?



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1              A.   Yes, sir.

2              Q.   But your testimony is per your review

3      if they didn't meet the criteria for gang

4      membership they wouldn't be added to the database?

5              A.   Correct.

6              Q.   Okay. Is filling out a TOPS card the

7      same thing as nominating an individual for addition

8      to the gang database?

9              A.   Yes.

10             Q.   So part of your role as a gang

11     intelligence officer was to review TOPS cards?

12             A.   Yes, sir.

13             Q.   And when you note that the old TOPS

14     cards were about the size of a baseball card, is

15     that an indication that the phrase TOPS card is

16     like a play on TOPS brand baseball cards?

17             A.   I've never made that connection until

18     now so --

19             Q.   You didn't think of it that way?

20             A.   No, but now that's my question when I

21     go back.

22             Q.   Was it part of your role as a gang

23     intelligence officer to sometimes fill out TOPS

24     cards yourself?

25             A.   Yes, sir.



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1      submitted by non-Gang Unit patrol officers and

2      determine whether the individuals described in

3      those TOPS card met the criteria for addition to

4      the gang database?

5              A.   Yes, sir.

6              Q.   But if a gang intelligence unit -- if a

7      gang intelligence officer filled out a TOPS card

8      that would not go through a separate process of

9      review prior to addition to the gang member --

10             A.   Correct.

11             Q.   And one of the responsibilities you

12     mentioned as a gang intelligence officer was

13     entering the numbers into the gang database;

14     correct?

15             A.   Correct.

16             Q.   So that would include both new members

17     that you identified in the course of your patrol;

18     correct?

19             A.   Yes, sir.

20             Q.   And members that were identified by the

21     submission of a TOPS cards from a nonGang Unit

22     patrol officer?

23             A.   Yes, sir.

24             Q.   Does anybody ever get added to the gang

25     database without a TOPS card being submitted?



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1               A.   Yes.

2               Q.   How does that process work?

3               A.   As a gang intelligence officer you are

4      not required to submit a TOPS card when you are

5      flagging somebody as a new member because the TOPS

6      card is used for the purpose of an officer turning

7      it into the Gang Unit and we, as being the Gang

8      Unit that runs and manages the database, would not

9      need to fill out a TOPS card for that purpose

10     because we actually have the entry in there so we

11     would document what is in the TOPS card in the

12     entry.

13              Q.   Okay.    When a non-Gang Unit patrol

14     officer completes a TOPS card for a potential gang

15     member and they submit that to the Gang Unit and

16     that person ultimately is added to the gang

17     database, do you keep the TOPS card?

18              A.   Yes, sir.

19              Q.   It becomes part of their file.         But for

20     some individual who you identify directly and don't

21     complete a TOPS card, there's no TOPS card in their

22     file; is that right?

23              A.   Yes, sir.

24              Q.   Is the TOPS card the same thing as a

25     gang card?



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1              A.    Yes, sir.

2              Q.    Okay.    When you say that a gang

3      intelligence officer is not required to complete a

4      TOPS card, you mean that they can add a new member

5      to the gang database without completing a TOPS card

6      or a gang card before that; correct?

7              A.    Yes, sir.

8              Q.    Okay.    Do you also mean or does that

9      also mean that if an officer has an encounter with

10     an individual who meets one or more criteria for

11     gang membership, they are not under an obligation

12     to complete a TOPS card reporting that encounter?

13             A.    Correct.

14             Q.    So an officer has discretion as to

15     whether to complete a TOPS card for an individual

16     who meets one or more of the criteria for gang

17     membership?

18             A.    Yes, sir.

19             Q.    And is that true both of a gang

20     intelligence officer and a non-Gang Unit patrol

21     officer?

22             A.    Yes, sir.

23             Q.    Are there patrol officers within the

24     Gang Unit that are not gang intelligence officers?

25             A.    No.



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1      would be in the Gang Intelligence Officer policy.

2               Q.   Okay, and would you be referring to

3      Policy --

4               A.   527, but I don't recall -- I don't

5      recall it being in there.      It may be in -- I forget

6      what it's called now.      I'm sorry.

7               Q.   That's all right.     If it comes to you

8      feel free to share.      Would you expect it to be like

9      in materials that are provided to new gang

10     intelligence officers when they are assigned to the

11     unit?

12              A.   Yes, sir.

13              Q.   Okay. Would those then be training

14     materials?

15              A.   Yes.

16              Q.   Okay.    When an officer is first

17     assigned to the Gang Unit, do they receive

18     something like a handbook specific to that unit?

19              A.   No, sir.

20             Q.    Do they receive training specific to

21     that unit?

22              A.   It's on-the-job training.

23              Q.   Okay. Okay.    Other than Priority 1

24     calls, you said one of the ways that you would

25     determine as a gang intelligence officer whether to



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1               Q.   When you knew or when you were assigned

2      to Beat 33, did you know that it was adjacent to

3      Beat 34 and that was the territory of the Seranos

4      gang?

5               A.   Yes.

6               Q.   Was is that something that you had

7      known prior to ever becoming a police officer?

8               A.   Yes.

9               Q.   How did you know that?

10              A.   Read the graffiti around the

11     neighborhood and it's everywhere.

12              Q.   How did you know what the graffiti

13     meant?

14              A.   Because my dad was a Wichita police

15     officer and my mom was the head of Substance Abuse

16     and Violence Prevention and Gang Prevention for USD

17     259.

18              Q.   So you had some family institutional

19     knowledge regarding gang membership and graffiti?

20              A.   Yes, sir.

21              Q.   When you say that the Seranos gang

22     claimed the territory encompassed by Beat 34, what

23     do you mean by that?

24              A.   The internet ruined geographic

25     locations for street gangs.       When street gangs



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1      originate they take pride in the intersections of

2      were they originated from, the areas they originate

3      from.   So in Wichita you will see a Latin King will

4      have 16th and Waco.      That's important to them

5      because that's where they originate from; 16th and

6      Waco so they will put 16 on everything.          In

7      Planeview, the Surenos, they originate from the

8      Planeview neighborhood and so that is their home

9      turf.   That is where they live and it's the

10     southern part of Wichita, right, and Surenos is the

11     southerns and the northern part of Wichita which

12     their rivals, the Notanos are in the north part of

13     Wichita and they are the NSGs.       They are the

14     Northside Gangsters; they are the rivals so the

15     Surenos, they recognize themselves as 13, Nortanos

16     recognize themselves as 14.       Opposite colors, that

17     type of stuff.

18             Q.    Okay. Are those geographic designations

19     still in play today?

20             A.    Yes.

21             Q.    So when you say the internet has ruined

22     geographic territories for gangs, is that not true

23     of all gangs?

24             A.    What I mean by that is if you were

25     going to be Bato Loco Boy you would need to be



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1      living in the area of 22nd and Jackson.            That's

2      where they originate from is that neighborhood, in

3      that area.    The internet has caused anybody to

4      claim to be a Bato Loco Boy because you can put any

5      emojo in there.        You can claim anything.      You don't

6      know what that means or the history behind it.               You

7      have never even been on Jackson Street and you are

8      claiming that.     Same thing with -- that's what I

9      mean by the geographical locations.           You don't have

10     to live on Volutsia to claim Volutsia block.                And

11     so other people start claiming Volutsia because

12     they go to school with a Volutsia block guy.

13             Q.    Okay, and so you're saying that someone

14     might post on the internet claiming a certain

15     neighborhood or street as theirs even if they have

16     never been to that neighborhood or street?

17             A.    Correct.

18             Q.    Are you also saying someone might

19     post on the internet claiming membership in a

20     certain gang even though they actually have no

21     affiliation with that gang at all?

22             A.    If they don't have any affiliation with

23     the gang then they wouldn't know gang terminology

24     or gang phraseology or the meaning behind some of

25     the terminology that they post.



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1      learn and use lingo of a particular gang even if

2      they hadn't been through an initiation process for

3      that gang?

4              A.    Yes, they could do that.

5              Q.    Okay, and would you agree that somebody

6      might post on the internet using lingo or

7      terminology from a particular gang even if they

8      hadn't been initiated to that gang?

9              A.    Yes.

10             Q.    Okay, and could somebody post on the

11     internet using lingo or terminology associated with

12     a certain gang even if if they themselves were not

13     a member of that gang?

14                   MR. BRANSON: Object to form.

15             A.    Yes.

16             Q.    (By Mr. Baehr) And again, they could

17     use that lingo or terminology even this they had

18     never been to that gang territory?

19             A.    Correct.

20             Q.    So when you talk about the internet

21     sort of destroying geography, that's part of what

22     you are talking about?

23             A.    Yes, sir.

24             Q.    Okay.    Is it right then to say that the

25     internet has also made it more difficult to



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1      identify actual gang members as opposed to people

2      using gang lingo and terminology who weren't

3      actually gang members?

4              A.    No.

5              Q.    Why not?

6              A.    Because it's not my job to validate you

7      if you want to claim to be a Wichita Villian Blood.

8      It's my job to recognize that you are claiming to

9      be that and it's my job to document that.          I don't

10     need to go fact check with the Wichita Villians and

11     make sure that your a member.       If you want to claim

12     to be a member and you want to associate with

13     members and you want to use terminology then I will

14     make you a member of it and I will document you as

15     one because we also deal with people that get

16     killed in homicides that become members of gangs

17     after that where we didn't even know they were a

18     member and they get killed and then it's very

19     important to them that that individual got killed

20     and they are recognized as a Blood then afterwards

21     and that happens -- that's extremely common.

22             Q.    I'm trying to understand the scenario

23     that you are describing.      So you're saying there

24     are cases where an individual could be a victim of

25     a homicide?



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1      members that that individual was associated with

2      the Bloods or associated with the Crips and that's

3      the motive behind this homicide.

4              Q.    Are you saying that there might be

5      cases where a community member is killed and

6      members of a gang within Wichita claim that that

7      person was a member of their gang and retaliate for

8      that violence even though that person maybe wasn't

9      actually a member of their gang?

10             A.    Even though that we didn't have that

11     person documented as a member of that gang.

12             Q.    Okay. So you're not saying there are --

13     you're not saying you believe that there are gangs

14     falsely claiming deceased people to have been their

15     members and using that as a pretense to initiate

16     violence?

17             A.    Correct.

18             Q.    You are just saying you don't actually

19     know who is and isn't in a gang?

20             A.    Correct.

21             Q.    You just know who you have defined as

22     being in a gang according to Policy 527?

23             A.    And Kansas state statute, yes.

24             Q.    And Kansas state statute?

25             A.    Yes, sir.



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1              Q.    In fact, is it your testimony that it's

2      not particularly your concern to know factually

3      whether a person is in a gang.       It's just your

4      concern to know whether they meet the criteria

5      under Policy 527 and Kansas state statute?

6                    MR. BRANSON: Object to form.

7              A.    Yes, sir.

8              Q.    (By Mr. Baehr) And so there may

9      be people who are in a gang who as far as you know

10     do not meet the criteria of Policy 527 and the

11     Kansas State statute?

12             A.    Can you ask that again? I'm sorry.

13             Q.    Yeah.    To your knowledge, there may be

14     individuals in the community who are members of a

15     gang but as far as you know do not meet the

16     criteria of Policy 527 and Kansas state statute?

17             A.    Yes, sir.

18             Q.    Okay, and is it also your testimony

19     that there might be people who meet the criteria of

20     Policy 527 and Kansas state statute who aren't

21     actually a member of any criminal street gang?

22                   MR. BRANSON: Object to form.

23             A.    No.

24             Q.    (By Mr. Baehr) Okay. How would you know

25     whether they are actually a member of a criminal



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1      used, yes.

2              Q.    Understand.     So not just wearing blue

3      and wearing along with other things?

4              A.    Yes.

5             Q.    Another criteria would be associating

6      with people who are known members of criminal

7      gangs; right?

8              A.    Yes, sir.

9              Q.    And if you meet two of those criteria

10     you could be identified to the database as a gang

11     associate?

12             A.    Yes, sir.

13             Q.    Okay.    You see that I'm wearing a blue

14     tie today?

15             A.    Uh-huh.

16             Q.    You can look at Exhibit 4 there and see

17     that I'm actually listed as a representative of

18     individuals who by definition are listed in the WPD

19     gang database.      Do you see that?

20             A.    Yes.

21             Q.    And so I'm an associate of those

22     individuals; is that true?

23                   MR. BRANSON: Object to form.

24             A.    No.

25             Q.    (By Mr. Baehr) Why not?



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1              A.    Well, first, you are representing them

2      on a legal matter so it's not like you are

3      associating0with them outside of your professional

4      setting, right, so we wouldn't sit here and flag an

5      individual who is representing a client.           I mean,

6      no.   There has to be reason behind flagging of an

7      individual.

8              Q.    Okay.

9              A.    And it's not just as simple as you

10     happen to wear blue and this guy's favorite color

11     is blue.

12             Q.    And I understand your testimony to be

13     that you would not flag me as an individual for

14     inclusion in the gang database as a gang associate

15     based on the fact that I'm wearing a blue tie and I

16     represent these individuals; is that right?

17             A.    Correct.

18             Q.    Okay.    But my question is if you just

19     looked at the criteria --

20             A.    Uh-huh.

21             Q.    -- is it true that by wearing a blue

22     tie I could be understood to be meeting that

23     criteria, the color criteria?

24                   MR. BRANSON: Object to form.

25             A.    No.



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1      are criteria that are listed that would cause a

2      person to meet or meet the definition of criminal

3      street gang membership; right?

4               A.   Yes.

5               Q.   Okay.    So if you look at Item E, it

6      says, "Adopt such gang style of dress, color." Do

7      you see that?

8               A.   Yes.

9               Q.   Blue would be a gang color; is that

10     right?

11              A.   Yes.

12              Q.   And so under the terms of this statute

13     a person wearing blue would will meet criteria; is

14     that right?

15              A.   Yes.

16              Q.   Okay, and then directly below that it

17     says, "Associates with known criminal street gang

18     members."     Do you see that?

19              A.   Yes.

20              Q.   What does associates mean?

21              A.   That he hangs out; that he surrounds

22     himself with; that he's involved with those people.

23              Q.   Is there a minimum number of times that

24     a person would have to interact with another person

25     in order to be deemed to associate with them?



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1              A.    Well, there's restrictions in here.

2              Q.    Okay. Is there anything in the statute

3      or Policy 527 that identifies a number of times

4      that a person would have to interact with a known

5      criminal street gang member in order to meet the

6      definition of associates?

7              A.    Yes.     Two or more times.

8              Q.    Where is that?

9              A.    I'm sorry.     I was thinking of I: Has

10     been stopped in the company of known criminal

11     street gang members two or more times.

12             Q.    So I'll ask again.      Is there anything

13     in K.S.A. 21-6313 or in Policy 527 that identifies

14     the number of interactions a person would have to

15     have with a known criminal street gang member in

16     order to meet the definition of associating with

17     that member?

18             A.    No.

19             Q.    So under the language of the statute

20     and let me ask again, is there anything in the

21     statute that identifies the nature of the

22     association that a person would have?

23                   MR. BRANSON: Object to form.

24             A.    No.

25             Q.    (By Mr. Baehr) So there's nothing in



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1      this statute that would tell you as an officer

2      okay, a person who is involved with a criminal

3      street gang member in the context of providing them

4      services, that could not be an associate of that

5      criminal street gang member.

6              A.    You are correct.

7              Q.    Okay.    Now, you as an officer, would

8      you consider someone who was associating with a

9      criminal street gang member in order to provide

10     them professional services, would you say that

11     person is associating with a criminal street gang

12     member?

13             A.    No.

14             Q.    Okay, so you would make a judgment call

15     not to state that that person met this criteria but

16     it wouldn't be strictly based on the language of

17     the criteria; is that right?

18             A.    Correct.

19             Q.    So you would employ some unwritten

20     criteria to distinguish between people who

21     associate with criminal street gang members for

22     some purposes from people who associate with them

23     in a way that would make them a likely criminal

24     street gang member; is that right?

25             A.    No. By state law you have to be



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1      about the same section.        You're saying this right

2      here, Section 2?

3              Q.    Yeah, that begins having as one of its

4      primary activities.

5              A.    And the question is?

6              Q.    Does that section describe the

7      definition of a criminal street gang member?

8              A.    No.      It's one of the requirements.

9              Q.    Let me ask you this, okay, according to

10     your understanding.        Does a person who -- does a

11     person have to be involved in criminal activity in

12     order to be listed as a gang member in the Wichita

13     Police Department gang database?

14             A.    No.

15             Q.    Okay.      A criminal street gang, in order

16     to be designated as a criminal street gang, has to

17     have as one of its primary purposes the commission

18     of crimes?

19             A.    Yes, sir.

20             Q.    But for an individual to be listed in

21     the gang database, that person doesn't have to be

22     associated with any criminal activity; correct?

23             A.    Correct.

24             Q.    Okay, and so going -- maybe taking a

25     whole step back, let's just look at Policy 527.



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1      be them associating with one another?

2              A.    Only one particular occasion? Like this

3      one time?

4              Q.    If you were in an Old Town bar at

5      closing and you saw several members of a street

6      gang sitting at a table together and talking, would

7      you consider that those individuals associating

8      with each other under the meaning of Section F?

9              A.    Yes.

10                   MR. BRANSON: Object to form.

11             Q.    And you wouldn't have to hear what they

12     were saying; is that right?

13             A.    Correct.

14            Q.    And you wouldn't have to see them giving

15     a hand shake or wearing the dress.          It would be

16     them being there together and communicating with

17     each other; correct?

18             A.    There would have to be other

19     circumstances.     There would have to be that they

20     are wearing gang colors, but just because I walk

21     into a restaurant and there's guys sitting there

22     doesn't mean that they get extended on their gang

23     database entry.        Not in my book.

24             Q.    Okay.      Do different officers maybe

25     apply the criteria differently?



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1              A.    Yes, and I am very fair and I'm very

2      honest and I have flagged individuals as associates

3      that meet four criteria.      I could make them an

4      active member, but I just made them an associate

5      for right now because I don't want to make them

6      active.   I would rather have a solid associate

7      flagging than a weak active flagging and so I am

8      very much -- if I was the gang officer that did it,

9      did my research and made sure that everybody

10     matched, would meet the criteria.

11             Q.    Okay. You made sure that every person

12     who was nominated for inclusion into the gang list

13     met all the criteria that they needed to to be

14     included in the gang list?

15             A.    Yes, and every time I've testified in

16     court I've done an audit on the person I went to

17     testify on the person before I testified to insure

18     that they were an active gang member.

19             Q.    Okay. When you say -- what did that

20     audit consist of?

21             A.    So you just -- if you are going to go

22     testify to somebody else's audit because I mean we

23     have a lot of people in the Gang Unit.          If you are

24     going to testify to somebody else's audit or you

25     get called over to court to testify to gang



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1      three-year period prior to your testimony?

2              A.    Yes, sir.

3              Q.    Okay.    Why was it important to you to

4      insure that anybody that you were going to testify

5      about their gang status was actually a member of

6      the gang they were being identified with?

7              A.    Because you are testifying in court to

8      it and there's an enhancement to the bond and that

9      is the moral and ethical thing to do is to insure

10     that it is correct and I'm not going to just go off

11     of somebody else's work.      If I'm going to swear

12     before a judge and a jury I'm going to be correct

13     about it.    That's why it's important to me because

14     I would never give my last name a bad name.

15             Q.    Okay. You made a comment -- or actually

16     let me strike that.

17                   Is it your testimony that you would not

18     go in court and testify that someone was a member

19     of a gang based on -- or let's say associate.             Is

20     it your testimony that you would not go into court

21     and testify that someone was a gang associate based

22     on having observed them wearing a Washington

23     Nationals jersey in a night club, sitting at a

24     table with other individuals listed on the gang

25     list?



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1              A.    I personally would not use that one

2      particular single incident as a documentation of

3      fact.

4              Q.    Okay. Why not?

5              A.    Because it's important to me that if an

6      individual, if I'm going to flag an individual that

7      they are actively involved in the gang lifestyle,

8      that there's more supporting evidence than just you

9      happen to stumble across two boxes and that's why.

10             Q.    So you agree that a person could meet

11     two or three of the criteria on the list without

12     being actively involved in the gang lifestyle?

13             A.    I do not, no.

14             Q.    Okay.     Well, let's look back at

15     Exhibit 5 again.       Your testimony is that you would

16     not check the box that an individual was

17     associating with known criminal street gang members

18     based solely on observing that person sitting at a

19     table with them, sitting at a table with a known

20     gang member in a public setting; is that right?

21             A.    One single occurrence, no.

22             Q.    But you agree that criteria F, as it's

23     listed there, doesn't specify that it needs to be

24     more than one occurrence; correct?

25             A.    Correct.



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1              Q.    But you -- the way that you would apply

2      it would be more strict than what is actually

3      written in Section B(2)(f)?

4              A.    In the way -- you are correct.         The

5      way I do apply it is like I first referenced when

6      you called me out on it.      I said well, it's two or

7      more times and you are like where.        I'm applying

8      the active two or more times to the associate and

9      yes, you are correct.      Could you flag them as that,

10     yes.   I personally don't do that.

11             Q.    Okay, and so just to clarify, a person

12     could be flagged under Policy 527 and Kansas

13     Statute 21-6313 as a gang associate or member based

14     on being seen in the presence of someone else

15     that's on the list and wearing a sports jersey

16     affiliated with a certain team?

17             A.    So how that --

18                   MR. BRANSON: Object to form.

19             Q.    (By Mr. Baehr) Is that right?

20                   MR. BRANSON: Object to form.

21             A.    How that would --

22             Q.    You can go ahead and answer.        I just

23     wanted to make sure that the question was clear.

24     I'm asking if it's true.

25                    MR. BRANSON: I'm going to ask you to



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1      clarify the question.        Are you talking about

2      active, are you talking associate.          You are only

3      saying two times it calls for -- which criteria are

4      you trying to ask him to meet?

5              Q.    Okay.      If you -- please go ahead and

6      give the answer that you were trying to give and

7      we'll try that.

8              A.    Here's an example I can give you.             A

9      patrol officer walks into Heroes bar tonight.               He

10     sees a guy wearing a Washington Nationals jersey

11     and he's sitting at a table with some Wichita

12     Villian Bloods.        He fills out a TOPS card.       The

13     Gang Unit gets the information and they do their

14     even research into it.        Okay.   They may do research

15     that will provide indicia that yes, he is claiming

16     that.   You know, maybe there's more on the

17     internet; social media, all of that, that help

18     support that claim.        Maybe there isn't anything and

19     so that is something that if we walked into a bar

20     and we saw a guy sitting there, I personally would

21     not be like, document that guy as a gang member.

22     There has to be more to it in my case.

23             Q.    Okay.

24             A.    You're saying per state statute, sure.

25     If you want to check the boxes off and do that,



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1      that's on you, but again, that's why I fact check

2      everything before I testify in court.

3              Q.    Okay, and just to clarify, when you say

4      that's on me, you mean an officer --

5              A.    Yes.

6              Q.    -- an officer could list somebody as a

7      gang member or associate based on meeting the

8      express criteria in the statute and Policy 527 and

9      nothing more and they could put that person in the

10     gang database?

11             A.    Yes.

12             Q.    And they could testify to that person's

13     gang status at a criminal proceeding?

14             A.    You would have to have a gang intel

15     officer that checks off with that and agrees with

16     it.

17             Q.    Okay, but if a gang intel officer

18     checked off on it then that person could testify?

19             A.    Yes.

20             Q.    Or the gang intel officer, if they saw

21     it differently than you, they could testify to the

22     gang status?

23             A.    Yes, sir.

24             Q.    Different officers might have differing

25     views about what other context is necessary for



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1      them to decide whether a person who meets the

2      strict express criteria of the statute should be

3      added to the gang database?

4              A.    Yes.

5              Q.    Okay.      So there may be gang

6      intelligence officers who would put someone into

7      the gang database as a gang associate based

8      strictly on seeing someone sitting at a table with

9      other people listed on the gang list and wearing a

10     Washington Nationals jersey?

11                   MR. BRANSON: Object to form.

12             A.    Possibly, yes.

13             Q.    (By Mr. Baehr) Okay. In your personal

14     view, such an individual might not be affiliated

15     with a gang; is that true?

16             A.    Correct.

17             Q.    And you personally would not interpret

18     the simple fact of someone sitting at a table with

19     other people on the gang list and wearing a

20     Washington Nationals jersey as behavior intended to

21     claim membership in the gang.

22             A.    No.      I'm telling you that I would not

23     immediately go enter them into the gang database

24     and flag them as an associate.         Okay.    That's what

25     I'm telling you.



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1               Q.   I understand.     You would need to see

2      something more; correct?

3               A.   Correct.

4               Q.   And some of that something more isn't

5      necessarily listed in Policy 527 or the statute;

6      right?

7               A.   Correct.

8               Q.   Okay.    So there may be -- there may be

9      indicia of gang membership that you, as a gang

10     intelligence officer, would find important to

11     determining whether someone is appropriate for

12     inclusion in the gang database that aren't listed

13     in the policy or in the statute.

14                   MR. BRANSON: Object to form.

15              A.   Correct.

16              Q.   (By Mr. Baehr) Okay. On the other hand,

17     a different officer could view it differently; is

18     that right?

19              A.   Always.

20              Q.   There could be an officer whose

21     approach to applying Policy 527 and the statute is

22     just to tick the boxes if the person is observed

23     meeting those criteria and enter them in the

24     database; is that right?

25              A.   Yes, sir.



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1              Q.    I know we have been going awhile.           I

2      think this is a good time for a break so let's go

3      off the record.

4                    VIDEOGRAPHER: The time is 12:17 p.m..

5      We are off the record.

6                    (Whereupon a recess was taken from

7      12:17 p.m. to 12:30 p.m.)

8                    VIDEOGRAPHER: The time is 12:30 p.m.

9      and we're back on the record.

10             Q.    (By Mr. Baehr) All right.       When we went

11     off we were talking about, I think sort of how you

12     applied Policy 527 and the statute as an officer or

13     as a detective if you observed someone in the

14     community who might meet some of the criteria; is

15     that right?

16             A.    Yes, sir.

17             Q.    Okay.    Part of your role as a gang

18     intelligence officer was to review TOPS cards

19     submitted by other officers; is that correct?

20             A.    Yes, sir.

21             Q.    And other officers might apply Policy

22     527 differently than you would; right?

23             A.    Yes, sir.

24             Q.    They might submit a TOPS card for

25     someone that you would not have submitted a TOPS



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1      card for?

2              A.    Yes, sir.

3              Q.    And they might submit it based on a

4      person meeting the strict criteria of Policy 527

5      without indicia that you would consider important

6      to identifying if that person was involved in gang

7      lifestyle?

8              A.    Yes, sir.

9              Q.    And so part of your job was to review

10     the TOPS card and decide whether to actually add

11     that individual to the database; correct?

12             A.    Yes, sir.

13             Q.    And you would conduct additional

14     research to determine whether you should add that

15     individual to the database; is that right?

16             A.    Yes, sir.

17             Q.    Did you ever add individuals to the

18     database based purely on the information in the

19     TOPS card?

20             A.    Yes.

21             Q.    What would determine whether you added

22     an individual to the database based purely on the

23     TOPS card versus conducting additional research?

24             A.    Like self-admits, that when they

25     self-admit to being in a gang that would be an easy



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1               A.   Not that I know of.        They have them in

2      Missouri.

3               Q.   Are there non-white nationalist groups,

4      non-motorcycle groups that operate in Kansas?

5               A.   I personally have not heard of any.

6               Q.   Are you aware of whether the

7      Three Percenters operate in Kansas?

8               A.   I don't know.

9               Q.   Okay. Are you aware of whether the

10     Patriot Front operates in Kansas?

11              A.   I've heard of the Patriot Guard for the

12     funerals.     The guys, the veterans for the funerals.

13     I don't know what the Patriot Front is.

14              Q.   Is the Patriot Guard a motorcycle

15     group?

16              A.   Yes.

17            Q.     Are they a criminal motorcycle group?

18              A.   No.

19              Q.   Okay, and just to be clear, when you

20     say -- is it your testimony that you are not aware

21     of any Proud Boys operations in Kansas; is that

22     right?

23              A.   Correct.

24              Q.   And you were not aware of white

25     nationalist groups operating in Kansas; is that



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1              Q.    Is it true that an officer might submit

2      a card identifying that an individual met three

3      criteria of inclusion in the database under Policy

4      5257 and you would review that card and determine

5      well, maybe they did meet those criteria

6      technically but I don't think that they should be

7      added to the gang database as a gang member?

8              A.    As an active gang member, yes.

9              Q.    Okay.      Can you add an individual to the

10     gang database as an inactive member?

11             A.    No.      You would add them as an

12     associate.

13             Q.    Okay.

14             A.    So instead of an active member you

15     would add them as an associate member.

16             Q.    Okay. So let's --

17             A.    Even though they meet three they are an

18     associate.

19             Q.    Okay.      Why would you add them as an

20     associate if they technically met three of the

21     criteria?

22             A.    Back to The Chosen Few.         Let's say

23     you're property -- in the motorcycle culture that

24     refer to women as property of.         So I don't mean

25     derogatory, but your property of is wearing a



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